                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

STEVEN VANCE and TIM JANECYK, for
themselves and others similarly situated,

                    Plaintiffs,
                                            Case No. 1:20-cv-00577
v.
                                            Hon. Charles P. Kocoras
INTERNATIONAL BUSINESS
MACHINES CORPORATION, a New York            Magistrate Judge Gabriel A. Fuentes
Corporation,

                    Defendant.


 DEFENDANT IBM’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO
   DISMISS PLAINTIFFS’ SECOND AMENDED CLASS ACTION COMPLAINT
                                                   TABLE OF CONTENTS
                                                                                                                                     Page

INTRODUCTION ...........................................................................................................................1
BACKGROUND AND SUMMARY OF ALLEGATIONS ...........................................................3
          A.         The Illinois Biometric Information Privacy Act ......................................................3
          B.         Plaintiffs Uploaded Photos Of Themselves To Flickr That Yahoo Later
                     Published In The Publicly-Available YFCC100M Database ..................................4
          C.         IBM Accessed Photos In The YFC100M Database—Including Plaintiffs’
                     Photos—For Purposes Of Its Diversity In Faces Research Project .........................5
ARGUMENT ...................................................................................................................................8
I.        PLAINTIFFS’ BIPA CLAIMS SHOULD BE DISMISSED ..............................................8
          A.         Plaintiffs’ BIPA Claims Violate Illinois’ Extraterritoriality Doctrine
                     Because Plaintiffs Do Not Allege That IBM’s Conduct Occurred
                     “Primarily And Substantially” In Illinois ................................................................8
          B.         Plaintiffs’ BIPA Claims Violate The Dormant Commerce Clause .......................11
          C.         BIPA Does Not Apply To IBM’s Analysis Of Photos ..........................................14
                     1.         BIPA’s Plain Terms Confirm That The Statute Was Not Intended
                                To Apply To Analysis Of Photos...............................................................14
                     2.         The Court Should Not Follow Decisions Holding That BIPA
                                Applies To Scans Of Photos Of Faces .......................................................15
II.       PLAINTIFFS’ UNJUST ENRICHMENT CLAIM SHOULD BE DISMISSED..............17
III.      PLAINTIFFS’ INJUNCTIVE RELIEF CLAIM SHOULD BE DISMISSED ..................19
CONCLUSION ..............................................................................................................................19




                                                                     ii
                                               TABLE OF AUTHORITIES


CASES                                                                                                                           PAGE

ACLU v. Johnson,
      194 F.3d 1149 (10th Cir. 1999) ....................................................................................... 13

Am. Booksellers Found. v. Dean,
       342 F.3d 96 (2d Cir. 2003)............................................................................................... 13

Am. Libraries Ass’n v. Pataki,
       969 F. Supp. 160 (S.D.N.Y. 1997) .................................................................................. 13

Archdiocese of St. Louis v. Internet Entm’t Grp., Inc.,
       1999 WL 66022 (E.D. Mo. Feb. 12, 1999) ...................................................................... 13

Ass’n Ben. Servs., Inc. v. Caremark RX, Inc.,
       493 F.3d 841 (7th Cir. 2007) ........................................................................................... 17

Avery v. State Farm Mut. Auto. Ins. Co.,
        835 N.E.2d 801 (Ill. 2005) ....................................................................................... 2, 8, 10

Bell Atl. Corp. v. Twombly,
         550 U.S. 544 (2007) ........................................................................................................... 8

Cleary v. Philip Morris Inc.,
        656 F.3d 511 (7th Cir. 2011) ........................................................................................... 17

Cont’l Cas. Co. v. Am. Nat’l. Ins. Co.,
        417 F.3d 727 (7th Cir. 2005) ............................................................................................. 6

Cousineau v. Microsoft Corp.,
       992 F. Supp. 2d 1116 (W.D. Wash. 2012)....................................................................... 18

In re DoubleClick Inc. Privacy Litig.,
        154 F. Supp. 2d 497 (S.D.N.Y. 2001).............................................................................. 18

Dur-Ite Co. v. Industrial Comm’n,
        68 N.E.2d 717 (Ill. 1946) ................................................................................................... 8

Ennenga v. Starns,
      2012 WL 1899331 (N.D. Ill. May 23, 2012) ..................................................................... 8

In re Facebook Biometric Information Privacy Litigation,
        185 F. Supp. 3d 1155 (N.D. Cal. 2016) ........................................................................... 16

Faerber Elec. Co. v. Atlanta Tri-Com, Inc.,
       1993 WL 247981 (N.D. Ill. July 2, 1993) ........................................................................ 17

Healy v. Beer Inst., Inc.,
        491 U.S. 324 (1989) ............................................................................................... 2, 11, 12


                                                                   iii
Hecker v. Deere & Co.,
       556 F.3d 575 (7th Cir. 2009) ............................................................................................. 6

LaCourt v. Specific Media, Inc.,
      2011 WL 1661532 (C.D. Cal. Apr. 28, 2011) ................................................................. 18

Landau v. CNA Fin. Corp.,
       886 N.E.2d 405 (Ill. App. 2008) ........................................................................................ 8

Midwest Title Loans, Inc. v. Mills,
       593 F.3d 660 (7th Cir. 2010) ........................................................................................... 12

Missouri Pet Breeders Ass’n v. Cty. of Cook,
       106 F. Supp. 3d 908 (N.D. Ill. 2015) ............................................................................... 19

Monroy v. Shutterfly, Inc.,
       2017 WL 4099846 (N.D. Ill. Sept. 15, 2017) ........................................... 8, 11, 14, 15, 16

Morley-Murphy Co. v. Zenith Elecs. Corp.,
       142 F.3d 373 (7th Cir. 1998) ........................................................................................... 12

Morrison v. YTB Int’l, Inc.,
       649 F.3d 533 (7th Cir. 2011) ........................................................................................... 12

Motorola, Inc. v. Lemko Corp.,
       2010 WL 960348 (N.D. Ill. Mar. 15, 2010) ..................................................................... 18

Mount v. PulsePoint, Inc.,
       684 Fed. App’x 32 (2d Cir. 2017), as amended (May 3, 2017) ...................................... 18

Obi v. Chase Home Fin., LLC,
        2012 WL 1802450 (N.D. Ill. May 15, 2012) ................................................................... 19

Patel v. Facebook, Inc.,
         932 F.3d 1264 (9th Cir. 2019) ......................................................................................... 11

Rivera v. Google, Inc.,
       238 F. Supp. 3d 1088 (N.D. Ill. 2017) ...............................................................8, 11, 15, 16

Steinberg v. CVS Caremark Corp.,
        899 F. Supp. 2d 331 (E.D. Pa. 2012) ............................................................................... 18

Stevens v. Interactive Fin. Advisors, Inc.,
        2015 WL 791384 (N.D. Ill. Feb. 24, 2015) ..................................................................... 17

Sunny Handicraft Ltd. v. Envision This!, LLC,
       2015 WL 231108 (N.D. Ill. Jan. 16, 2015) ...................................................................... 18

Welborn v. Internal Revenue Serv.,
       218 F. Supp. 3d 64 (D.D.C. 2016) ................................................................................... 19




                                                                iv
                                              STATUTORY AUTHORITIES

740 ILCS 14/5(a) ........................................................................................................................ 3, 4

740 ILCS 14/5(b)-(e). ........................................................................................................... 3, 4, 16

740 ILCS 14/10. .......................................................................................................... 2, 3, 4, 14, 15

740 ILCS 14/20(2). ......................................................................................................................... 4


                                             ADDITIONAL AUTHORITIES

A9793, Assemb., Reg. Sess. (N.Y. 2018) .....................................................................................12

S8547, Senate, Reg. Sess. (N.Y. 2018) .........................................................................................12

A1911, Assemb., Reg. Sess. (N.Y. 2019) .....................................................................................12

S1203, Senate, Reg. Sess. (N.Y. 2019) ......................................................................................... 12




                                                                      v
                                         INTRODUCTION

        Plaintiffs Steven Vance and Tim Janecyk allege that, in 2008 and 2011, respectively, they

uploaded photos of themselves to the photo-sharing website Flickr. Dkt. 19, Second Amended

Complaint (“SAC”), ¶¶ 23, 30. In 2014, Flickr’s parent company, Yahoo, included Plaintiffs’

photos in the “Yahoo Flickr Creative Commons 100 Million” dataset (a/k/a the “YFCC100M

Dataset”)—a publicly-available and widely-used online dataset that includes approximately 100

million photos and videos uploaded by Flickr users around the world, pursuant to “Creative

Commons” licenses executed by Flickr users. 1 See id. ¶ 40. Yahoo describes the YFCC100M

Dataset as “a great novel dataset [for] the computer vision and multimedia research community.” 2

        In 2019, IBM—a New York corporation not affiliated with either Yahoo or Flickr—

allegedly “created its own dataset (the ‘IBM Dataset’) from a subset of the [YFCC100M] Dataset”

that “consisted of approximately one million frontal-facing images of human faces—including

Plaintiffs’ and Class Members’ faces,” and then “processed the photographs to capture the

biometrics of the faces appearing therein.” SAC ¶¶ 43, 44.

        Although Plaintiffs do not allege that IBM (i) interacted with Plaintiffs or any other Illinois-

resident Flickr users, or (ii) conducted any activity relevant to this lawsuit in Illinois, Plaintiffs

nevertheless contend that IBM’s out-of-state conduct was regulated by the Illinois Biometric

Information Privacy Act (“BIPA”), and claim that IBM violated BIPA by failing to provide “the

requisite notice to, or obtaining the requisite releases from,” the Illinois residents whose facial

images were included and processed as part of the IBM Dataset. Id. ¶ 46.




1
    See yfc100m Browser, About, http://projects.dfki.uni-kl.de/yfcc100m.
2
    See yfc100m Browser, Welcome, http://projects.dfki.uni-kl.de/yfcc100m/.


                                                   1
       Plaintiffs’ BIPA claims (Counts I-V) should be dismissed for three reasons. First, the

Illinois Supreme Court has made clear that “a statute is without extraterritorial effect unless a clear

intent in this respect appears from the express provisions of the statute.” Avery v. State Farm Mut.

Auto. Ins. Co., 835 N.E.2d 801, 852 (Ill. 2005) (citation omitted). BIPA conveys no such intent,

and therefore the statute may regulate the conduct of New York companies like IBM only if their

conduct occurred “primarily and substantially” in Illinois. Id. at 853 (emphasis added). Here,

however, Plaintiffs fail to plead that IBM engaged in any conduct whatsoever in Illinois. Indeed,

the only Illinois connection alleged is that IBM’s Dataset of approximately one million mostly

non-Illinois residents (culled from the Yahoo/Flickr YFCC100M Dataset) allegedly included

publicly-available online photographs of a handful of Illinois residents as well. This plainly is

insufficient to establish that IBM’s conduct occurred “primarily and substantially” in Illinois.

Because Plaintiffs’ BIPA claims would require an extraterritorial application of the statute, the

claims should be dismissed.

       Second, application of BIPA to IBM’s out-of-state conduct violates the dormant Commerce

Clause, which “precludes the application of a state statute” that has “the practical effect of . . .

control[ling] conduct beyond the boundaries of the State,” “whether or not the commerce has

effects within the State.” Healy v. Beer Inst., Inc., 491 U.S. 324, 336 n.1 (1989). That would be

the “practical effect” if BIPA were applied here, given Plaintiffs do not allege that IBM engaged

in any relevant conduct in Illinois.

       Third, by BIPA’s express terms, IBM’s alleged taking of “craniofacial measurements”

from photos of faces does not violate BIPA. The statute specifically excludes “photographs” from

the definition of “biometric identifier,” and further provides that information “derived from”

photographs is not “biometric information.” 740 ILCS 14/10. IBM cannot be held liable under




                                                  2
BIPA for taking “measurements” from photographs where the statute specifically excludes

information “derived from” “photographs.”

        Plaintiffs’ related claims for unjust enrichment (Count VI) and injunctive relief (Count

VII)—each of which is predicated on IBM’s alleged violation of BIPA—should also be dismissed

because Plaintiffs fail to plead that IBM violated BIPA, and for the other reasons explained below

in Sections II and III, respectively.

                   BACKGROUND AND SUMMARY OF ALLEGATIONS

        A.      The Illinois Biometric Information Privacy Act

        BIPA was enacted in 2008 to address the growing use of biometric data “in the business

and security screening sectors” in Illinois. 740 ILCS 14/5(a) (emphasis added). The Illinois

General Assembly found that “[m]ajor national corporations ha[d] selected the City of Chicago

and other locations in this State as pilot testing sites for new applications of biometric-facilitated

financial transactions, including finger-scan technologies at grocery stores, gas stations, and school

cafeterias.” Id. 14/5(b). Consumers had become weary “of the use of biometrics when such

information is tied to finances” and were being “deterred from partaking in biometric identifier-

facilitated transactions,” in part because of the “limited State law regulating the collection, use,

safeguarding, and storage of biometrics.” Id. 14/5(d), (e).

        BIPA addresses these concerns by regulating the collection and storage of (1) “biometric

identifiers” and (2) “biometric information.” The statute defines “biometric identifier” using a

short, exclusive list of sources of data about a person: “‘Biometric identifier’ means a retina or iris

scan, fingerprint, voiceprint, or scan of hand or face geometry.” Id. 14/10. Other potential

identifiers are then expressly excluded from the definition: “Biometric identifiers do not include

writing samples, written signatures, photographs, human biological samples used for valid




                                                  3
scientific testing or screening, demographic data, tattoo descriptions, or physical descriptions such

as height, weight, hair color, or eye color.” Id. (emphasis added).

       “Biometric information” is data derived from a biometric identifier: “any information,

regardless of how it is captured, converted, stored, or shared, based on an individual’s biometric

identifier used to identify an individual.” Id. This provision, too, contains an exclusionary clause:

“Biometric information does not include information derived from items or procedures excluded

under the definition of biometric identifiers”—such as “photographs.” Id.

       BIPA requires private entities that “collect, capture, purchase, receive through trade, or

otherwise obtain a person’s or a customer’s biometric identifier or biometric information” to first

(1) inform the person of that collection or storage “in writing”; (2) inform the person “in writing

of the specific purpose and length of term” of the collection, storage, and usage; and (3) obtain a

“written release” from the person. Id. 14/15(b). Private entities are required to develop and publish

a written policy regarding the retention and destruction of biometric data. Id. 14/15(a).

       For negligent violations of BIPA, a plaintiff can obtain “liquidated damages of $1,000 or

actual damages, whichever is greater,” and for intentional or reckless violations of BIPA, a plaintiff

can collect “liquidated damages of $5,000 or actual damages, whichever is greater.” Id. 14/20(2).

       B.      Plaintiffs Uploaded Photos Of Themselves To Flickr That Yahoo Later
               Published In The Publicly-Available YFCC100M Database

       Plaintiffs Vance and Janecyk are Illinois residents that uploaded photos of themselves to

Flickr in 2008 and 2011, respectively. SAC ¶¶ 11, 12, 23, 30. Vance alleges that, in 2008, he

uploaded a photo of himself and two family members to Flickr from his computer in Illinois (the

“2008 Vance Photo”). Id. ¶ 23. Janecyk similarly alleges that, in 2011, he uploaded a photo of

his face to Flickr (the “2011 Janecyk Photo”), but, unlike Vance, Janecyk does not allege that he

uploaded the photo to Flickr while he was in Illinois or from a computer or other device that was



                                                  4
located in Illinois. See id. ¶ 30. Plaintiffs purport to represent a class of “[a]ll Illinois residents

whose faces appear in the IBM Dataset or DiF Dataset,” 3 id. ¶ 58—regardless of whether the

photos of their faces were taken in, or uploaded to Flickr from, Illinois.

       Plaintiffs allege that, “[i]n 2014, Yahoo!, then the parent company of Flickr, released to

the public over 99 million photos uploaded by Flickr users from 2004 through 2014 as part of a

single, downloadable dataset called YFCC100M.” Id. ¶ 40. Although Plaintiffs allege that “[e]ach

image in the DiF Dataset could be traced back to the individual Flickr account to which [the image]

was originally uploaded,” id. ¶ 48, they do not allege that the images or the account include the

names or any other contact information of the individuals who appear in the images.

       Plaintiffs do not allege that Flickr or Yahoo has ever been affiliated with IBM. Nor do

Plaintiffs allege that IBM had anything to do with Yahoo’s decision to publicly release the

photographs in the YFCC100M Dataset.4

       C.      IBM Accessed Photos In The YFC100M Database—Including Plaintiffs’
               Photos—For Purposes Of Its Diversity In Faces Research Project

       IBM is a New York corporation headquartered in Armonk, New York. 5 Id. ¶¶ 4, 13. In or

around January 2019—i.e., nearly five years after Yahoo publicly released the YFCC100M

database containing Plaintiffs’ photos—IBM research scientists in New York downloaded

approximately one million photos (allegedly including Plaintiffs’ photos) from the YFCC100M


3
  The SAC does not explain how the “IBM Dataset” is distinct from the “DiF Dataset.” IBM is
not aware of any difference.
4
  Nor do Plaintiffs allege that the YFCC100M Dataset consisted primarily of images of Illinois
Flickr users. In fact, Plaintiff Vance’s original Complaint alleged that “[r]esearch suggests that
[only] 30 percent of Flickr images are uploaded from the United States,” Dkt. No. 1, at ¶ 48,
meaning that a much smaller percentage (likely less than 1 percent) was uploaded from Illinois.
5
  The SAC alleges that IBM has “a regional headquarters in Chicago, Illinois,” SAC ¶ 13, but
does not allege that anyone in the Chicago office had anything to do with the DiF Research Project.



                                                  5
database to create their own database of facial images, as part of the “Diversity in Faces” research

project (the “DiF Research Project”). See id. ¶ 43; see also Michele Merler et al., Diversity in

Faces, IBM RESEARCH AI @ IBM T.J. WATSON RESEARCH CENTER (2019), available at

https://arxiv.org/pdf/1901.10436.pdf (last visited April 16, 2020) (stating that the project was

conducted by four researchers employed by “IBM Research @ IBM T.J. Watson Research Center,

Yorktown Heights, NY”)), attached hereto as Exhibit A.6

       In their SAC, Plaintiffs quote and include images from the Diversity in Faces research

paper, which describes the Project. See SAC ¶ 45 (images), ¶ 47 (quotes). The paper explains that

the goal of the Project was to tackle the lack of diversity in facial recognition technology. Ex. A,

at 2. Because “AI systems learn what they are taught[,] [i]f they are not taught with robust and

diverse data sets, accuracy and fairness are at risk.” Id. “Face recognition systems that are trained

with only a narrow context of a specific data set will inevitably acquire bias that skews learning

towards the specific characteristics of the data set.” Id. at 4.

       The training data sets should be large enough and diverse enough to learn the many
       ways in which faces inherently differ. The images must reflect the diversity of
       features in faces we see in the world. This raises the important question of how we
       measure and ensure diversity for faces.

Id. at 2. IBM thus created “DiF”—i.e., the IBM Dataset—which “provides a new data set of

annotations of one million publicly available face images” that is “designed to advance the study

of fairness and accuracy in face recognition technology.” Id. at 1-2.


6
  The SAC quotes from and relies extensively on the Diversity in Faces research paper. See SAC
¶¶ 45, 47. It is well established that, in ruling on a motion to dismiss, the Court is permitted to
consider documents that are “referred to in the plaintiff’s complaint and are central to her claim,”
as well as documents “referenced” in the [complaint] that Plaintiffs failed to attach. Cont’l Cas.
Co. v. Am. Nat’l. Ins. Co., 417 F.3d 727, 731 n.2 (7th Cir. 2005); see also Hecker v. Deere & Co.,
556 F.3d 575, 582 (7th Cir. 2009) (affirming trial court’s decision dismissing complaint based
upon consideration of approximately 900 pages of material attached to defendant’s motion to
dismiss because the documents were central to plaintiffs’ claim).


                                                   6
       Plaintiffs allege that photos of their faces were among the photos included in the IBM

Database and analyzed as part of the DiF Research Project. SAC ¶ 43. Plaintiffs further allege

that IBM “processed the photographs to capture the biometrics of the faces appearing therein.” Id.

¶ 44. Specifically, IBM created a “‘comprehensive set of annotations of intrinsic facial features

that includes craniofacial distances, areas and ratios, facial symmetry and contrast, [and] skin

color.’” Id. ¶ 47 (quoting Ex. A) (brackets in original). IBM then “disseminat[ed] [the] … DiF

Dataset … to third-party researchers and private entities.” Id.

       Plaintiffs allege that, “[i]n collecting, capturing and otherwise obtaining the biometric

identifiers and information of Plaintiffs and Class Members and, subsequently, disclosing,

redisclosing, and otherwise disseminating those biometric identifiers and information—all without

providing the requisite notice, obtaining the requisite releases or satisfying any of BIPA’s other

provisions that would excuse it from BIPA’s mandates—Defendant IBM violated BIPA.” Id. ¶ 49.

       Critically, however, Plaintiffs do not make a single allegation that, in creating its Dataset

or conducting the DiF Research Project, IBM had any contact whatsoever with Illinois. Although

Plaintiffs and the putative class members allegedly are Illinois residents, they do not allege that

they uploaded photos to IBM servers, used IBM software, services, or technology, or that they

ever had any communications or interactions with IBM. Nor do Plaintiffs allege that any of IBM’s

alleged actions in violation of BIPA—e.g., the “collecting, capturing and otherwise obtaining the

biometric identifiers and information”—was conducted in Illinois.




                                                 7
                                           ARGUMENT7

I.     PLAINTIFFS’ BIPA CLAIMS SHOULD BE DISMISSED

       A.      Plaintiffs’ BIPA Claims Violate Illinois’ Extraterritoriality Doctrine Because
               Plaintiffs Do Not Allege That IBM’s Conduct Occurred “Primarily And
               Substantially” In Illinois

       There is a “long-standing rule of construction in Illinois which holds that a ‘statute is

without extraterritorial effect unless a clear intent in this respect appears from the express

provisions of the statute.’” Avery, 835 N.E.2d at 852 (quoting Dur-Ite Co. v. Industrial Comm’n,

68 N.E.2d 717 (Ill. 1946)). Nothing in BIPA conveys any such intent, and, accordingly, courts in

this district have held that BIPA does not regulate out-of-state conduct. See, e.g., Monroy v.

Shutterfly, Inc., 2017 WL 4099846, at *5 (N.D. Ill. Sept. 15, 2017) (“none of BIPA’s express

provisions indicates that the statute was intended to have extraterritorial effect”); Rivera v. Google,

Inc., 238 F. Supp. 3d 1088, 1104 (N.D. Ill. 2017) (BIPA “was not intended to and does not have

extraterritorial application”). Thus, to be actionable, a BIPA violation must occur within Illinois.

See Rivera, 238 F. Supp. at 1100 (plaintiffs’ “asserted violations of [BIPA] must have taken place

in Illinois for them to win”).

       In Avery, the Illinois Supreme Court explained that a “transaction may be said to take place

within a state if the circumstances relating to the transaction occur primarily and substantially” in

Illinois. 835 N.E.2d at 854 (emphasis added). Thus, “the majority of circumstances relating to

the alleged violation of the [statute]” must have occurred in the state. Landau v. CNA Fin. Corp.,

886 N.E.2d 405, 409 (Ill. App. 2008) (emphasis added).




7
  “A motion to dismiss should be granted if the plaintiff fails to offer ‘enough facts to state a claim
to relief that is plausible on its face.’” Ennenga v. Starns, 2012 WL 1899331, at *2 (N.D. Ill. May
23, 2012) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)).


                                                  8
        Here, Plaintiffs do not allege that IBM did anything in Illinois that is relevant to this lawsuit.

For example, although Plaintiffs allege that IBM violated BIPA by “collecting, capturing and

otherwise obtaining the biometric identifiers and information of Plaintiffs and Class Members and,

subsequently, disclosing, redisclosing, and otherwise disseminating those biometric identifiers and

information,” Plaintiffs do not allege that IBM did these things from Illinois. Nor do Plaintiffs

allege that IBM had any contact with them while they were residing in Illinois. To the contrary,

Plaintiffs allege that IBM obtained the photos from a database of Flickr photos that Yahoo made

publicly available online. SAC ¶¶ 40-43, 49.

        Plaintiffs further acknowledge that IBM is a New York corporation, headquartered in

Armonk, New York. Id. ¶ 13. The DiF Research Paper that Plaintiffs quote in their SAC—and

which is therefore incorporated by reference—makes clear that the DiF Project was conducted by

four IBM researchers working out of the IBM Watson Research Center in Yorktown Heights, New

York. Ex. A at 1. In short, Plaintiffs do not allege that IBM engaged in a single, relevant act in

Illinois.

        Moreover, although Plaintiff Vance alleges that he uploaded the 2008 Vance Photo “from

his computer in Illinois,” he acknowledges that he uploaded that photo “to Flickr,” which is not

affiliated with IBM, and that IBM obtained it only when Yahoo published the Flickr photos online.

SAC ¶¶ 23, 40-43 (emphasis added). Vance’s mere “upload[ing]” of a photo to Flickr “from his

computer in Illinois” fails to establish a connection between IBM’s alleged conduct and Illinois.

        Plaintiff Janecyk alleges even less of a nexus with Illinois. Although Janecyk alleges that,

in 2008, he “signed up for a Flickr account in the Village of Tinley Park, Illinois,” and that, three

years later, he uploaded the 2011 Janecyk Photo to Flickr, id. ¶ 30, Janecyk conspicuously omits

the location from which he uploaded that photo. Nor does he allege that the photo was taken in




                                                   9
Illinois. Janecyk thus leaves open the possibility that the photo was taken and uploaded to Flickr

from outside of Illinois, making his claims even more attenuated from Illinois than Vance’s claims.

       The putative class members’ claims are similarly attenuated from Illinois—the putative

class consists of “[a]ll Illinois residents whose faces appear in the IBM Dataset and/or DiF Dataset,”

id. ¶ 58, regardless of whether the photos of their faces were taken or uploaded in Illinois, stored

or processed in Illinois, or handled by an Illinois entity.

       As Plaintiffs would have it, if (1) an Illinois resident took a selfie on vacation in California,

(2) uploaded that photo to Yahoo/Flickr (California companies) from California using a California-

based IP address, (3) Yahoo/Flickr then published that selfie in an online database accessible to

anyone in the world, and (4) IBM researchers working out of lab in New York downloaded the

selfie to a server in New York and took facial measurements from it, the IBM researchers’ conduct

would be regulated by BIPA, notwithstanding the fact that the only connection to Illinois in this

scenario is the residency of the person in the photo. Thus, according to Plaintiffs, a subject’s

Illinois residency is—on its own—sufficient to trigger BIPA, without regard to the location of the

defendant or its alleged actions.

       BIPA, however, does not purport to protect Illinois residents from conduct that occurs

outside of Illinois’ borders. To the contrary, the Illinois Supreme Court made clear that an Illinois

statute that contains no provision indicating that it is intended to apply extraterritorially—such as

BIPA—applies only to conduct that occurs “primarily and substantially” in Illinois. Avery, 835

N.E.2d at 854. The SAC fails to satisfy this crucial nexus and therefore all of Plaintiffs’ BIPA

claims should be dismissed.

       Plaintiffs will no doubt point to cases from this district in which courts held that, on the

facts alleged in those cases, it was premature to resolve—at the motion to dismiss stage—the




                                                  10
question of whether the plaintiffs’ claims required extraterritorial application of BIPA. But those

cases are distinguishable in an important respect: in each case, the photo was allegedly uploaded

to the defendants’ systems from a computer or device located in Illinois. See, e.g., Rivera, 238 F.

Supp. 3d at 1101 (plaintiff’s “photographs were allegedly ‘automatically uploaded in Illinois to

[defendant’s] cloud-based Google Photos service … from an Illinois-based Internet Protocol (‘IP’)

address”); Monroy, 2017 WL 4099846, at *6 (“the complaint alleges that the photo of Monroy was

uploaded to Shutterfly’s website from a device that was physically located in Illinois and had been

assigned an Illinois-based IP address”). Thus, in each case, the defendant engaged in some BIPA-

relevant interaction with Illinois-based users of its services. 8 Here, by contrast, Plaintiffs are Flickr

users, not IBM users, and Plaintiffs do not allege that they ever interacted with IBM (in Illinois, or

anywhere else).

        B.      Plaintiffs’ BIPA Claims Violate The Dormant Commerce Clause

        Like Illinois’ extraterritoriality doctrine, the U.S. Constitution ensures that a state regulates

only conduct that it has a substantial interest in controlling. Article I, section 8 gives Congress the

exclusive power to regulate commerce “among the several states.” This express grant of power

implicitly “limit[s] . . . the authority of the States to enact legislation affecting interstate commerce.”

Healy v. Beer Inst., Inc., 491 U.S. 324, 326 fn.1 (1989). The “dormant Commerce Clause”

“precludes the application of a state statute” that has “the practical effect of . . . control[ling]


8
   Similarly, in Patel v. Facebook, Inc., 932 F.3d 1264 (9th Cir. 2019), the Ninth Circuit held that,
at the class certification stage, it was unnecessary to determine whether the plaintiffs’ claims
implicated an extraterritorial application of the statute. The court observed that BIPA does not
specify whether a violation is “deemed to occur where the person whose privacy rights are
impacted uses Facebook, where Facebook scans photographs and stores the face templates, or in
some other place or combination of places.” Id. at 1276. But the plaintiffs were all Illinois
Facebook users who had uploaded their photos to Facebook from Illinois, id. at 1268, and thus
Facebook—unlike IBM here—had at least some relevant interactions with the Illinois resident
class members.


                                                   11
conduct beyond the boundaries of the State,” “whether or not the commerce has effects within the

State”—thereby preventing “inconsistent legislation arising from the projection of one state

regulatory regime into the jurisdiction of another State.” Id. at 336-37, n.1.

       This rule has particular application where, as here, application of the Illinois law would

displace the inconsistent policies of New York and the vast majority of other states that have

chosen not to restrict the conduct alleged. Indeed, the New York legislature has considered BIPA-

style legislation four times over the past several years, but the bills have never made it out of

committee. See, e.g., A9793, Assemb., Reg. Sess. (N.Y. 2018); S8547, Senate, Reg. Sess. (N.Y.

2018); A1911, Assemb., Reg. Sess. (N.Y. 2019); S1203, Senate, Reg. Sess. (N.Y. 2019).

       In applying the dormant Commerce Clause, the Seventh Circuit has “t[aken] a broad[] view”

of what constitutes an inconsistent legal regime. Midwest Title Loans, Inc. v. Mills, 593 F.3d 660,

667-68 (7th Cir. 2010). A showing of “inconsistent obligations” is not required; “the absence of

a . . . counterpart” law in another state generally demonstrates that the other state “thinks [the

conduct] shouldn’t be restricted in the [same] way,” and it would be unconstitutional to “exalt the

public policy of one state over that of another.” Id. (emphasis added); see also Morrison v. YTB

Int’l, Inc., 649 F.3d 533, 538 (7th Cir. 2011) (“Some states allow gambling; others don’t. Some

allow fireworks; others don’t. Perhaps some allow pyramid schemes. Expanding Illinois law in a

way that overrode the domestic policy of other states would be problematic.”); Morley-Murphy

Co. v. Zenith Elecs. Corp., 142 F.3d 373, 379 (7th Cir. 1998) (absent dormant Commerce Clause,

“any state that has chosen a policy more laissez faire than Wisconsin’s would have its choices

stymied, because the state that has chosen more regulation could always trump its deregulated

neighbor.”). New York—IBM’s home state, and the only state in which IBM is alleged to have

engaged in any relevant conduct—has considered, but to date has decided against, passing a statute




                                                 12
regulating the collection of biometric identifiers or information. The dormant Commerce Clause

precludes Illinois from overriding New York’s decision to stay out of the field.

       This principle is particularly important in the Internet context. “[C]ourts have long

recognized that certain types of commerce demand consistent treatment,” and that “[t]he Internet

represents one of those areas”: “Regulation by any single state can only result in chaos, because at

least some states will likely enact laws subjecting Internet users to conflicting obligations.” Am.

Libraries Ass’n v. Pataki, 969 F. Supp. 160, 181 (S.D.N.Y. 1997); see also Am. Booksellers Found.

v. Dean, 342 F.3d 96, 104 (2d Cir. 2003) (“the internet will soon be seen as falling within the class

of subjects that are protected from State regulation” under dormant Commerce Clause); ACLU v.

Johnson, 194 F.3d 1149, 1162 (10th Cir. 1999). At the very least, the “massive liability brought

on by conflicting applicable law could chill . . . the rapidly expanding field of Internet commerce.”

Archdiocese of St. Louis v. Internet Entm’t Grp., Inc., 1999 WL 66022, at *3 (E.D. Mo. Feb. 12,

1999). At worst, these “inconsistent regulatory schemes could paralyze the development of the

Internet altogether.” Pataki, 969 F. Supp. at 181.

       Applying BIPA to IBM’s New York-based research project clearly would burden interstate

commerce and violate the dormant Commerce Clause. IBM’s research is perfectly legal under

federal and New York law, but IBM (and other research institutions and universities using the

YFCC100M database for facial recognition research) 9 would be forced to stop this research if it

were exposed to BIPA liability merely because the YFCC100M database might contain some small




9
  See, e.g., Ira Kemelmacher-Shlizerman et al., The MegaFace Benchmark: 1 Million Faces for
Recognition        at    Scale,           UNIVERSITY       OF       WASHINGTON         (2015),
http://megaface.cs.washington.edu/KemelmacherMegaFaceCVPR16.pdf, at § 3 (explaining that
the University of Washington’s “MegaFace” facial recognition research project also made use of
“Yahoo’s 100M Flickr set”).


                                                 13
percentage of images of Illinois residents. That is precisely the kind of burden on interstate

commerce that the dormant Commerce Clause prohibits.

       Again, Plaintiffs are likely to point to Monroy v. Shutterfly, which held that Shutterfly’s

dormant Commerce Clause argument was premature at the pleading stage. 2017 WL 4099846, at

*7. But in Monroy, the court emphasized the fact that the plaintiff’s “suit, as well as his proposed

class, is confined to individuals whose biometric data was obtained from photographs uploaded to

Shutterfly in Illinois.” Id. (emphasis added). The court explained that “[a]pplying BIPA in this

case would not entail any regulation of Shutterfly’s gathering and storage of biometric data

obtained outside of Illinois”; rather, “the statute requires Shutterfly to comply with certain

regulations if it wishes to operate in Illinois.” Id. (emphasis added). Here, by contrast, Plaintiffs

do not allege that IBM engaged in any relevant “operat[ions] in Illinois.” See id. And “applying

BIPA in this case would [] entail [] regulation of [IBM’s] gathering and storage of biometric data

obtained outside of Illinois.” See id. (emphasis added). Thus, Monroy actually highlights an

important reason why the dormant Commerce Clause issue should be resolved at the pleading

stage in IBM’s favor.

       C.      BIPA Does Not Apply To IBM’s Analysis Of Photos

               1.       BIPA’s Plain Terms Confirm That The Statute Was Not Intended To
                        Apply To Analysis Of Photos

       Plaintiffs’ BIPA claims also fail because the claims are based exclusively on photos and

BIPA’s plain language expressly excludes both photographs and information derived from

photographs. See 740 ILCS 14/10.

       The SAC makes no mention of these exclusions. Instead, Plaintiffs rely solely on the term

“scan of . . . facial geometry” in BIPA’s definition of “biometric identifier.” SAC ¶¶ 9, 11, 12.

They contend that this term covers the alleged “facial geometric scans of individuals depicted in



                                                 14
approximately one million photos” that IBM obtained “from the photo-sharing service Flickr.” Id.

¶¶ 4, 22. They are wrong.

       Plaintiffs’ approach ignores the language of the statute. In enacting BIPA, the legislature

created two categories of covered biometric data: (1) original sources of information about a person

(“biometric identifiers”—defined as a “retina or iris scan, fingerprint, voiceprint, or scan of hand

or face geometry”); and (2) data extracted or derived from those sources (“biometric

information”—defined as “information . . . based on an individual’s biometric identifier”). A

photograph, however, is one of the “items or procedures” specifically excluded from the meaning

of “biometric identifier,” and accordingly “information derived from” photographs is excluded

from the definition of “biometric information.” 740 ILCS 14/10. The legislature thus went out of

its way to exclude both photographs and information derived from photographs. That effort would

be meaningless if information derived from photographs—such as the “measurements” that IBM

allegedly obtained from Plaintiffs’ Flickr photos—were somehow retroactively included into the

definition of “biometric identifier.”

               2.      The Court Should Not Follow Decisions Holding That BIPA Applies
                       To Scans Of Photos Of Faces

       Several courts have denied motions to dismiss BIPA claims based on the application of

facial-recognition technology to photos. IBM respectfully submits that these cases were wrongly

decided.

       In Monroy and Rivera, for example, the courts acknowledged that “[i]t is clear that the data

extracted from [a plaintiff’s] photograph cannot constitute ‘biometric information’ within the

meaning of the statute” because “photographs are expressly excluded from the definition of

‘biometric identifier,’ and the definition of ‘biometric information’ expressly excludes

‘information derived from items or procedures excluded under the definition of biometric



                                                15
identifiers.’” Monroy, 2017 WL 4099846, at *3; see also Rivera, 238 F. Supp. 3d at 1095.

However, the courts rejected the defendants’ arguments that, in light of these exclusions, scans of

photos of faces do not trigger BIPA, primarily on the basis that there purportedly is an “absence

of any textual support for [defendants’] interpretation.” Monroy, 2017 WL 4099846, at *3; see

also Rivera, 238 F. Supp. 3d at 1096 (“The problem with this argument is that there is no textual

or structural clue to support it.”).

        IBM respectfully submits that, in so holding, the courts did not properly account for the

fact that BIPA § 5 makes clear that it is intended to regulate “biometric identifier-facilitated

transactions,” such as those that occur “at grocery stores, gas stations, and school cafeterias”—

i.e., all intrinsically in-person activities. 740 ILCS 14/5(b)-(e) (emphasis added). Indeed, the only

examples that the statute gives of the types of activities that it is intended to regulate are in-person

activities. The courts also glossed over BIPA’s clear intent to exclude “photographs” and

information “derived from” photographs from its scope. It simply does not make sense for the

Legislature to specifically exclude “photographs” and “information derived from [photographs]”

from the definitions of “biometric identifier” and “biometric information,” respectively, if the

Legislature intended “information derived from [a scan of a photograph]” to be included within

the definition of “biometric identifier.”10

        Accordingly, the Court should hold that BIPA does not cover the type of research that IBM

is alleged to have conducted on publicly-available online photos.



10
    The court’s reasoning in In re Facebook Biometric Information Privacy Litigation, 185 F. Supp.
3d 1155 (N.D. Cal. 2016), is similarly unsound. The court concluded that “‘[p]hotographs’ is
better understood to mean paper prints of photographs, not digitized images stored as a computer
file and uploaded to the Internet.” Id. at 1171 (emphasis added). This reading cannot be reconciled
with the commonly understood meaning of “photograph” when the statute was passed in 2008: by
then, digital photography was already the norm.


                                                  16
II.    PLAINTIFFS’ UNJUST ENRICHMENT CLAIM SHOULD BE DISMISSED

       Plaintiffs’ related unjust enrichment claim should also be dismissed, for three reasons.

       First, where “an unjust enrichment claim rests on the same improper conduct alleged in

another claim, then the unjust enrichment claim will be tied to this related claim—and, of course,

unjust enrichment will stand or fall with the related claim.” Cleary v. Philip Morris Inc., 656 F.3d

511, 517 (7th Cir. 2011); see also Ass’n Ben. Servs., Inc. v. Caremark RX, Inc., 493 F.3d 841, 855

(7th Cir. 2007) (“Where the plaintiff’s claim of unjust enrichment is predicated on the same

allegations of fraudulent conduct that support an independent claim of fraud, resolution of the

fraud claim against the plaintiff is dispositive of the unjust enrichment claim as well.”) (emphasis

in original). That is the case here: Plaintiffs contend that IBM’s conduct was “unjust” because

IBM acquired their “biometric identifiers and information … without permission and in violation

of Illinois law”—i.e., in violation of BIPA. SAC ¶ 108. The unjust enrichment claim is therefore

“predicated on the same allegations … that support an independent claim” under BIPA, and,

therefore “resolution of the [BIPA] claim[s] against [Plaintiffs] is dispositive of the unjust

enrichment claim as well.” See Ass’n Ben. Servs., Inc., 493 F.3d at 855.

       Second, although Plaintiffs vaguely (and implausibly) allege that the DiF Research Project

indirectly “enriched” IBM by “improving its own for-profit facial recognition technology using

the insights gleaned from the biometric identifiers and information and the algorithms trained on

it,” SAC ¶ 52, they do not allege that this purported enrichment caused them to suffer a

corresponding economic “expense.” See Stevens v. Interactive Fin. Advisors, Inc., 2015 WL

791384, at *16 (N.D. Ill. Feb. 24, 2015); Faerber Elec. Co. v. Atlanta Tri-Com, Inc., 1993 WL

247981, at *3 (N.D. Ill. July 2, 1993) (“To sustain a claim of unjust enrichment, a plaintiff must

show that the defendant has been unjustly enriched at the plaintiff’s expense such as when a




                                                17
defendant received requested goods and services without paying any compensation for them.”)

(emphasis added). Courts around the country have rejected the notion that unjust enrichment can

be based on misuse of personal or private data because unjust enrichment does not apply “outside

the context of an ‘expense’ stemming from some tangible economic loss to a plaintiff.” Cousineau

v. Microsoft Corp., 992 F. Supp. 2d 1116, 1130 (W.D. Wash. 2012) ; see also Mount v. PulsePoint,

Inc., 684 Fed. App’x 32, 36 (2d Cir. 2017), as amended (May 3, 2017) (affirming that plaintiff

failed to plead unjust enrichment in light of “plaintiffs’ failure to allege specific loss or deprivation

of opportunity to profit from [personal] information”). 11 So far as IBM can tell, no court in Illinois

has “applied the doctrine of unjust enrichment outside the context of an ‘expense’ stemming from

some tangible economic loss to a plaintiff.” See Cousineau, 992 F. Supp. 2d at 1130.

        Third, Plaintiffs fail to allege facts supporting a reasonable expectation of payment from

IBM. See, e.g., Sunny Handicraft Ltd. v. Envision This!, LLC, 2015 WL 231108, at *5 (N.D. Ill.

Jan. 16, 2015) (dismissing unjust enrichment claim where Plaintiffs failed to “allege factual

circumstances” or “conduct” “that give rise to [] reasonable expectation of payment”); Motorola,

Inc. v. Lemko Corp., 2010 WL 960348, at *5 (N.D. Ill. Mar. 15, 2010) (dismissing unjust enrich

claim and explaining that “with no expectation of payment for services rendered, a party can hardly

claim that another has been unjustly enriched”) (emphasis in original) (internal quotation marks


11
   Numerous other cases are in accord. See, e.g., In re DoubleClick Inc. Privacy Litig., 154 F.
Supp. 2d 497, 525 (S.D.N.Y. 2001) (explaining that “although demographic information is valued
highly … the value of its collection has never been considered an economic loss to the subject,”
and “we are unaware of any court that has held the value of this collected [personal] information
constitutes damage to consumers or unjust enrichment to collectors”); Steinberg v. CVS Caremark
Corp., 899 F. Supp. 2d 331, 341 (E.D. Pa. 2012) (granting motion to dismiss unjust enrichment
claim where “the plaintiffs have not shown that the [personal] information disclosures … caused
them to suffer an ascertainable loss”); and LaCourt v. Specific Media, Inc., 2011 WL 1661532, *5
(C.D. Cal. Apr. 28, 2011) (“Plaintiffs do not explain how they were ‘deprived’ of the economic
value of their personal information simply because their unspecified personal information was
purportedly collected by a third party.”).


                                                   18
omitted). Plaintiffs do not allege, for example, that their individual biometric information has

independent monetary value for which they ordinarily would expect to be compensated. See, e.g.,

Welborn v. Internal Revenue Serv., 218 F. Supp. 3d 64, 78 (D.D.C. 2016) (explaining that “[c]ourts

have routinely rejected the proposition that an individual’s personal identifying information has

an independent monetary value,” and collecting cases). Plaintiffs merely allege that IBM used the

photos of their faces along with the photos of approximately one million other faces to train

“algorithms” which then allowed IBM to “improve its own for-profit facial recognition technology

using the insights gleaned from” this information. SAC ¶ 52. Even if this were true, Plaintiffs

have no reasonable expectation of payment under these alleged circumstances.

III.      PLAINTIFFS’ INJUNCTIVE RELIEF CLAIM SHOULD BE DISMISSED

          Plaintiffs’ separate cause of action for injunctive relief (Count VII) 12 also “fail[s] as it does

not state a cause of action.” Obi v. Chase Home Fin., LLC, 2012 WL 1802450, at *4 (N.D. Ill.

May 15, 2012) (dismissing injunctive relief claim because “it is apparent that injunctive relief is a

remedy” and “not a cause of action.”); Missouri Pet Breeders Ass’n v. Cty. of Cook, 106 F. Supp.

3d 908, 927 (N.D. Ill. 2015) (dismissing injunctive relief claim because it is “not appropriately

considered as a separate claim for relief” and is a “remedy rather than a cause of action.”).

                                             CONCLUSION

          For the foregoing reasons, Plaintiffs’ SAC should be dismissed with prejudice.




12
       The SAC mislabels this claim as “Count VI,” but it is the seventh count asserted.


                                                     19
Dated: April 16, 2020        Respectfully Submitted,

                             /s/ Stephen A. Broome

                             Stephen A. Broome
                             Admitted Pro Hac Vice
                             QUINN EMANUEL URQUHART & SULLIVAN, LLP
                             865 S. Figeuroa St., 10th Floor
                             Los Angeles, CA 90405
                             Telephone: (213) 443-3285
                             stephenbroome@quinnemanuel.com

                             Lazar P. Raynal
                             Kaitlin P. Sheehan
                             David Lakin
                             QUINN EMANUEL URQUHART & SULLIVAN, LLP
                             191 N. Wacker Drive, Suite 2700
                             Chicago, IL 60606-1881
                             Telephone: (312) 705-7400
                             lazarraynal@quinnemanuel.com
                             kaitlinsheehan@quinnemanuel.com
                             davidlakin@quinnemanuel.com

                             Counsel for IBM




                        20
                                 CERTIFICATE OF SERVICE

       The undersigned attorney for Counsel for IBM hereby certifies that on April 16, 2020, the

foregoing was electronically filed with the U.S. District Court Clerk, Northern District of Illinois,

Eastern Division, by using the CM/ECF filing system, which will send a notice of electronic filing

to all CM/ECF participants.



                                                      /s/ Stephen A. Broome
                                                      Stephen A. Broome
                                                      Counsel for IBM




                                                 21
